Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 1 of 10 PageID #: 2561


                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


JOHN DOE,                           )
                                    )
            Plaintiff,              )
                                    )
            v.                      )           Case No. 1:18-cv-3713-TWP-MJD
                                    )
INDIANA UNIVERSITY,                 )
                                    )
            Defendant.              )

                             CASE MANAGEMENT PLAN

I.    Parties and Representatives

      A.    Plaintiff: John Doe (proceeding anonymously)
            Defendant: The Trustees of Indiana University

      B.    Plaintiff’s Counsel:

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Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 2 of 10 PageID #: 2562


II.    Jurisdiction and Statement of Claims

       A.    This Court has federal question jurisdiction over the allegations in the Complaint
             pursuant to 28 U.S.C. § 1331 because the claims involve questions arising under Title
             IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681–88. The Court also has
             supplemental jurisdiction over the remaining claims pursuant to 28 U.S.C. § 1367
             because they arise out of the same case or controversy giving rise to the federal claims.

       B.    Indiana University (“IU”) suspended John Doe (“Doe”), and IU student, for four years
             after it held him responsible for sexual assault and sexual exploitation of another IU
             student. Based on IU’s investigation, charging decisions, hearing process, panel
             decision, and appeal process, Doe claims that IU violated Title IX (under erroneous
             outcome and deliberate indifference theories) and breached its implied contract with
             Doe by not following its own policies and procedures. Specifically, Doe claims that
             gender bias tainted the entire process and that IU’s handling of Doe’s case was arbitrary
             and capricious. Doe also brings claims for negligence, negligent infliction of emotional
             distress, promissory estoppel, and unjust enrichment stemming from the same
             underlying facts.

       C.    IU denies Doe’s claims. The evidence will show that IU conducted a fair and impartial
             investigation and hearing and ultimately decided that, based on the evidence presented,
             Doe was responsible for sexual assault, sexual exploitation, and sexual harassment. As
             a result of these findings, IU suspended Doe for four years. IU’s decisions were not
             arbitrary and capricious and were not motived by Doe’s gender. In addition, the
             evidence will show that IU did not violate a single one of its policies throughout the
             investigation, hearing, and appeal.

III.   Pretrial Pleadings and Disclosures

       A.    The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
             February 11, 2019.

       B.    Plaintiff(s) shall file preliminary witness and exhibit lists on or before February 18,
             2019.

       C.    Defendant(s) shall file preliminary witness and exhibit lists on or before
             February 25, 2019.

       D.    All motions for leave to amend the pleadings and/or to join additional parties shall be
             filed on or before March 11, 2019.

       E.    Plaintiff shall serve Defendant (but not file with the Court) a statement of special
             damages, if any, and make a settlement proposal, on or before                   March 11,
             2019. Defendant shall serve on the Plaintiff (but not file with the Court) a response
             thereto within 30 days after receipt of the proposal.

       F.    Except where governed by paragraph (G) below, expert witness disclosure deadlines
             shall conform to the following schedule: Plaintiff shall disclose the name, address, and
                                                  2
Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 3 of 10 PageID #: 2563


           vita of any expert witness, and shall serve the report required by Fed. R. Civ. P. 26(a)(2)
           on or before August 30, 2019. Defendant shall disclose the name, address, and vita of
           any expert witness, and shall serve the report required by Fed. R. Civ. P. 26(a)(2) on or
           before 30 days after Plaintiff serves its expert witness disclosure; or if Plaintiff has
           disclosed no experts, Defendant shall make its expert disclosure on or before
           September 30, 2019.

      G.   Notwithstanding the provisions of paragraph (F), above, if a party intends to use expert
           testimony in connection with a motion for summary judgment to be filed by that party,
           such expert disclosures must be served on opposing counsel no later than 90 days prior
           to the dispositive motion deadline. If such expert disclosures are served the parties shall
           confer within 7 days to stipulate to a date for responsive disclosures (if any) and
           completion of expert discovery necessary for efficient resolution of the anticipated
           motion for summary judgment. The parties shall make good faith efforts to avoid
           requesting enlargements of the dispositive motions deadline and related briefing
           deadlines. Any proposed modifications of the CMP deadlines or briefing schedule must
           be approved by the Court.

      H.   Any party who wishes to limit or preclude expert testimony at trial shall file any such
           objections no later than 120 days before trial. Any party who wishes to preclude expert
           witness testimony at the summary judgment stage shall file any such objections with
           their responsive brief within the briefing schedule established by S.D. Ind. L.R. 56-1.

      I.   All parties shall file and serve their final witness and exhibit lists on or before
           November 29, 2019. This list should reflect the specific potential witnesses the party
           may call at trial. It is not sufficient for a party to simply incorporate by reference “any
           witness listed in discovery” or such general statements. The list of final witnesses shall
           include a brief synopsis of the expected testimony.

      J.   Any party who believes that bifurcation of discovery and/or trial is appropriate with
           respect to any issue or claim shall notify the Court as soon as practicable.

      K.    Discovery of electronically stored information (“ESI”). The parties do not anticipate a
           substantial volume of ESI beyond what has already been produced.

           To the extent that the Federal Rules of Civil Procedure, Rules 26(a)(1) or Rule 34
           require the disclosure of documents which are stored electronically, the producing party
           shall, absent objection and/or assertion of privilege, produce such documents in either
           hard-copy (paper) form, or in *.pdf or *.tiff format. The producing party may elect to
           produce these documents on CD, DVD, or on an external hard drive with a USB
           connection, or via Taft’s Secure Send software. The producing party shall pay all
           expenses of identifying, gathering, and producing the requested documents. Metadata
           will initially not be produced, but the requesting party reserves the right to request that
           metadata be provided should it/he/she deem it relevant and appropriate. If after
           reviewing a document in its originally-produced format, the requesting party seeks to
           review any or all documents in a different format, in particular its native format (the
           “Subsequent Request”), then the requesting party shall identify those documents, and
           the parties shall confer in good faith to determine the feasibility of providing the
                                                3
Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 4 of 10 PageID #: 2564


                documents in the requested format, the costs of producing the documents in the
                requested format, and the party to bear the costs of producing the documents in the
                requested format. The producing party shall provide the requesting party with sufficient
                notice of the estimated costs before the costs are incurred by the producing party, and
                the costs shall be approved by the requesting party before any costs are incurred. In the
                event the requesting and producing parties cannot agree as to the production of
                documents pursuant to a Subsequent Request or cannot agree as to any term or
                condition of such production, either party may, by motion, seek the Court’s resolution
                of such dispute.

                In the event that a document protected by the attorney-client privilege, the attorney
                work product doctrine, or other applicable privilege or protection is unintentionally
                produced by any party to this proceeding, the producing party may request that the
                document be returned. In the event that such a request is made, the receiving party may
                challenge the producing party’s assertion by filing an appropriate motion with the court
                after first attempting to resolve the issue among the parties. Otherwise, all parties to the
                litigation and their counsel shall promptly return all copies of the document in their
                possession, custody, or control to the producing party and shall not retain or make any
                copies of the document or any documents derived from such document. The producing
                party shall promptly identify the returned document on a privilege log. The
                unintentional disclosure of a privileged or otherwise protected document shall not
                constitute a waiver of the privilege or protection with respect to that document or any
                other documents involving the same or similar subject matter, unless otherwise
                provided by law.

IV.     Discovery1 and Dispositive Motions

        Due to the time and expense involved in conducting expert witness depositions and other
        discovery, as well as preparing and resolving dispositive motions, the Court requires counsel to
        use the CMP as an opportunity to seriously explore whether this case is appropriate for such
        motions (specifically including motions for summary judgment), whether expert witnesses will
        be needed, and how long discovery should continue. To this end, counsel must select the track
        set forth below that they believe best suits this case. If the parties are unable to agree on a
        track, the parties must: (1) state this fact in the CMP where indicated below; (2) indicate which
        track each counsel believes is most appropriate; and (3) provide a brief statement supporting
        the reasons for the track each counsel believes is most appropriate. If the parties are unable to
        agree on a track, the Court will pick the track it finds most appropriate, based upon the contents
        of the CMP or, if necessary, after receiving additional input at an initial pretrial conference.




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    The term “completed,” as used in Section IV.C, means that counsel must serve their discovery
    requests in sufficient time to receive responses before this deadline. Counsel may not serve
    discovery requests within the 30-day period before this deadline unless they seek leave of Court to
    serve a belated request and show good cause for the same. In such event, the proposed belated
    discovery request shall be filed with the motion, and the opposing party will receive it with service
    of the motion but need not respond to the same until such time as the Court grants the motion.
                                                      4
Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 5 of 10 PageID #: 2565


       A.     Yes, IU intends to file a motion for summary judgment on all of Doe’s claims. As an
              initial matter, Doe’s breach of contract claim is barred by the Eleventh Amendment. In
              addition, the evidence will show that IU did not breach its implied contract with Doe
              and did not discriminate against Doe based on his gender. Rather, IU followed its
              policies throughout the investigation, hearing, and appeal, and rendered a sound
              decision supported by the evidence presented that Doe had violated several Student
              Code provisions.

       B.     On or before September 13, 2019, and consistent with the certification provisions of
              Fed. R. Civ. P. 11(b), the party with the burden of proof shall file a statement of the
              claims or defenses it intends to prove at trial, stating specifically the legal theories upon
              which the claims or defenses are based.

       C.     Select the track that best suits this case:

                  X Track 2: Dispositive motions are expected and shall be filed by
              November 8, 2019; non-expert witness discovery and discovery relating to liability
              issues shall be completed by September 27, 2019; expert witness discovery and
              discovery relating to damages shall be completed by February 27, 2020.


              Absent leave of Court, and for good cause shown, all issues raised on summary
              judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.

V.     Pre-Trial/Settlement Conferences

       At any time, any party may call the Judge's Staff to request a conference, or the Court may sua
       sponte schedule a conference at any time. The presumptive time for a settlement conference is
       no later than 30 days before the close of non-expert discovery. The parties are encouraged
       to request an earlier date if they believe the assistance of the Magistrate Judge would be
       helpful in achieving settlement. The parties recommend a settlement conference in
       August 2019.

VI.    Trial Date

       The parties request a trial date in June 2020. The trial is by jury and is anticipated to take four
       days. Counsel should indicate here the reasons that a shorter or longer track is appropriate.
       While all dates herein must be initially scheduled to match the presumptive trial date, if the
       Court agrees that a different track is appropriate, the case management order approving the
       CMP plan will indicate the number of months by which all or certain deadlines will be
       extended to match the track approved by the Court.

VII.   Referral to Magistrate Judge

       A.     Case. At this time, all parties do not consent to refer this matter to the currently
              assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for all
              further proceedings including trial. [This section should be marked in the affirmative
              only if all parties consent. Do not indicate if some parties consent and some do not.
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Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 6 of 10 PageID #: 2566


            Indicating the parties' consent in this paragraph may result in this matter being referred
            to the currently assigned Magistrate Judge for all further proceedings, including trial. It
            is not necessary to file a separate consent. Should this case be reassigned to another
            Magistrate Judge, any attorney or party of record may object within 30 days of such
            reassignment. If no objection is filed, the consent will remain in effect.]

      B.    Motions. The parties may also consent to having the assigned Magistrate Judge rule on
            motions ordinarily handled by the District Judge, such as motions to dismiss, for
            summary judgment, or for remand. If all parties consent, they should file a joint
            stipulation to that effect. Partial consents are subject to the approval of the presiding
            district judge.

VIII. Required Pre-Trial Preparation

      A.    TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the parties
            shall:

            1.     File a list of trial witnesses, by name, who are actually expected to be called to
                   testify at trial. This list may not include any witnesses not on a party’s final
                   witness list filed pursuant to Section III.I.

            2.     Number in sequential order all exhibits, including graphs, charts and the like,
                   that will be used during the trial. Provide the Court with a list of these exhibits,
                   including a description of each exhibit and the identifying designation. Make
                   the original exhibits available for inspection by opposing counsel. Stipulations
                   as to the authenticity and admissibility of exhibits are encouraged to the greatest
                   extent possible.

            3.     Submit all stipulations of facts in writing to the Court. Stipulations are always
                   encouraged so that at trial, counsel can concentrate on relevant contested facts.

            4.     A party who intends to offer any depositions into evidence during the party's
                   case in chief shall prepare and file with the Court and copy to all opposing
                   parties either:

                   a.      brief written summaries of the relevant facts in the depositions that will
                           be offered. (Because such a summary will be used in lieu of the actual
                           deposition testimony to eliminate time reading depositions in a question
                           and answer format, this is strongly encouraged.); or

                   b.      if a summary is inappropriate, a document which lists the portions of the
                           deposition(s), including the specific page and line numbers, that will be
                           read, or, in the event of a video-taped deposition, the portions of the
                           deposition that will be played, designated specifically by counter-
                           numbers.

            5.     Provide all other parties and the Court with any trial briefs and motions in
                   limine, along with all proposed jury instructions, voir dire questions, and areas
                                                 6
Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 7 of 10 PageID #: 2567


                   of inquiry for voir dire (or, if the trial is to the Court, with proposed findings of
                   fact and conclusions of law).

              6.   Notify the Court and opposing counsel of the anticipated use of any evidence
                   presentation equipment.

      B.      ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the parties
              shall:

              1.   Notify opposing counsel in writing of any objections to the proposed exhibits. If
                   the parties desire a ruling on the objection prior to trial, a motion should be filed
                   noting the objection and a description and designation of the exhibit, the basis of
                   the objection, and the legal authorities supporting the objection.

              2.   If a party has an objection to the deposition summary or to a designated portion
                   of a deposition that will be offered at trial, or if a party intends to offer
                   additional portions at trial in response to the opponent's designation, and the
                   parties desire a ruling on the objection prior to trial, the party shall submit the
                   objections and counter summaries or designations to the Court in writing. Any
                   objections shall be made in the same manner as for proposed exhibits.
                   However, in the case of objections to video-taped depositions, the objections
                   shall be brought to the Court's immediate attention to allow adequate time for
                   editing of the deposition prior to trial.

              3.   File objections to any motions in limine, proposed instructions, and voir dire
                   questions submitted by the opposing parties.

              4.   Notify the Court and opposing counsel of requests for separation of witnesses at
                   trial.

IX.   Other Matters

      None.


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Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 8 of 10 PageID #: 2568



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                                         8
Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 9 of 10 PageID #: 2569


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             PARTIES APPEARED IN PERSON/BY COUNSEL ON                    FOR A
             PRETRIAL/STATUS CONFERENCE.

             APPROVED AS SUBMITTED.

             APPROVED AS AMENDED.

             APPROVED AS AMENDED PER SEPARATE ORDER.

             APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
             SHORTENED/LENGTHENED BY ______________ MONTHS.


             APPROVED, BUT THE DEADLINES SET IN SECTION(S)
             _______________ OF THE PLAN IS/ARE SHORTENED/LENGTHENED BY
             ______________ MONTHS.


             THIS MATTER IS SET FOR TRIAL BY                   ON
             _____________________________. FINAL PRETRIAL CONFERENCE IS
             SCHEDULED FOR ____________________________________ AT     .M.,
             ROOM                   .


             A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
                              AT       .M. COUNSEL SHALL APPEAR:

                                      IN PERSON IN ROOM           ; OR

                                      BY TELEPHONE, WITH COUNSEL FOR
                        INITIATING THE CALL TO ALL OTHER PARTIES AND
                        ADDING THE COURT JUDGE AT (____)
                        ___________________; OR

                                      BY TELEPHONE, WITH COUNSEL
                        CALLING THE JUDGE'S STAFF AT (____)
                        ___________________;


             DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN
             _____________________




                                        9
Case 1:18-cv-03713-TWP-MJD Document 64 Filed 01/10/19 Page 10 of 10 PageID #: 2570


       Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an Order of
the Court may result in sanctions for contempt, or as provided under Fed. R. Civ. P. 16-1(f), to and
including dismissal or default.

       APPROVED AND SO ORDERED.




________________________                           ___________________________________
Date                                               U. S. District Court
                                                   Southern District of Indiana




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